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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN

JAMES WEBER,

                   Plaintiff,
      v.
                                                       Case No. 19-cv-448-wmc
ANDREW SAUL,
Commissioner of Social Security,

                   Defendant.


                          JUDGMENT IN A CIVIL CASE


      IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

plaintiff James Weber against defendant Andrew Saul, Commissioner of Social

Security reversing the Commissioner’s decision and remanding this case for further

proceedings under sentence four of Section 205 of the Social Security Act, 42 U.S.C.

§ 405(g).




      s/ K. Frederickson, Deputy Clerk                            1/12/2021
       Peter Oppeneer, Clerk of Court                                Date
